Case 1:23-cv-01198-CJN Document 7-15 Filed 05/05/23 Page 1 of 3




       EXHIBIT 14
            Case 1:23-cv-01198-CJN Document 7-15 Filed 05/05/23 Page 2 of 3




                                       SENT VIA FOIA PORTAL

    April 5, 2023

    RE: CBP-FO-2023-053731

          Dear FOIA Officer,

          I write to supplement the record in support of my request for expedited processing for
    my FOIA Request/Appeal CBP-FO-2023-053731 (“Request”).

           Appendix B contains a number of news reports and articles reporting on U.S.
    Customs and Border Protection (“CBP”) denials of entry to the United States based on
    admissions of drug use or other similar conduct. Many of these articles question whether
    CBP is consistently and fairly discharging the law in this area. 1

            Appendix C contains a number of articles that specifically cover the issue of HRH the
    Duke of Sussex KCVO’s drug use and its interaction with HRH ability to lawfully enter and
    remain in the United States. Many of these articles question the role of CBP in this process
    and thus raise “possible questions about the government’s integrity that affect public
    confidence” in that they suggest there was some impropriety in HRH’s admission to the
    United States. 28 C.F.R. § 16.5(e)(1)(4). Many of these articles specifically comment on the
    Request and the “possible questions about the government’s integrity that affect public
    confidence” it surfaces via asking questions about HRH’s long and admitted history of drug
    use and admission to the United States. They thus clearly demonstrate on-going and intense
    public interest in “possible questions about the government’s integrity that affect public
    confidence” surfaced by the Request. 2

            Appendix D is an Amazon Kindle redemption code to allow CBP to obtain a copy of
    HRH’s book Spare and formally enter that entire book into the record. Please accept your
    prepaid eBook using the link below:
    https://www.amazon.com/kindle/redeem/?t=GS2RUQESE4ENCPB




1
    http://thf_media.s3.amazonaws.com/2023/Oversite_Project/PrinceHarry_Appendix_B-C.pdf
2
    http://thf_media.s3.amazonaws.com/2023/Oversite_Project/PrinceHarry_Appendix_B-C.pdf




                                                   1
         Case 1:23-cv-01198-CJN Document 7-15 Filed 05/05/23 Page 3 of 3




If you have any questions, or feel you need clarification of this request please contact me at
oversightproject@heritage.org.



                                                      Sincerely,

                                                     Mike Howell
                                                     Oversight Project Director
                                                     & Author at The Daily Signal
                                                     The Heritage Foundation
                                                     214 Massachusetts Ave, NE Washington,
                                                     D.C. 20002




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